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Elizabeth F. Rojas
15260 Ventura Blvd.
Suite 710
Sherman Oaks, CA 91403
Telephone: (818) 933-5700
Facsimile: (818) 933-5755


                             UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                    NORTHERN DIVISION


IN RE:                                                   CHAPTER 13 CASE NO. 9:17-bk-10169-DS

Fredda J. Thomas                                         NOTICE THAT TRUSTEE WILL NO LONGER
                                                         PAY U.S. BANK TRUST NATIONAL
                                                         ASSOCIATION, AS TRU BASED ON
                                          Debtor         EVIDENCE THAT CLAIM HAS BEEN PAID
                                                         IN FULL OR FORGIVEN


    Notice is hereby given that the Chapter 13 Trustee has received a refund and/or correspondence

indicating that Trustee claim #1: U.S. Bank Trust National Association, as Tru (account #2859), filed or

designated by the debtor, has been paid in full. The Trustee will forever cease distribution on this claim

unless otherwise notified in writing by the debtor or creditor that the Trustee should continue to pay the

claim.

    A copy of the documentation received by the Trustee is available, and will be provided, to any

interested party making such a request.




DATE: August 15, 2018                                                 /s/ Elizabeth F. Rojas
                                                                 Elizabeth F. Rojas, TRUSTEE
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                                           PROOF OF SERVICE


STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

I declare under penalty of perjury that I am over the age of eighteen years and not a party to the within
entitled action, I am employed by Elizabeth F. Rojas, Chapter 13 Standing Trustee, 15260 Ventura Blvd.,
Suite 710, Sherman Oaks, CA 91403, and that on August 15, 2018, I served the within document (s) on all
parties in interest listed below, by placing a true copy of thereof enclosed in a sealed envelope with
postage thereon fully prepaid, in the United States mail addressed as follows:

Fredda J. Thomas                                     JULIE J. VILLALOBOS
319 Wynn Ct.                                         Oaktree Law
Thousand Oaks, CA 91362                              10900 183rd Street, #270
                                                     Cerritos, CA 90703

U.S. Bank Trust National Association, as
Tru
c/o SN Servicing Corporation
323 5th Street
Eureka, CA 95501



Executed at Sherman Oaks, California on August 15, 2018.


                                                /s/ Ellen Latsch
                                                Ellen Latsch




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